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UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRIC'I` OF TEXAS
DALLAS DIVISION
PATRICIA CLEMENSON,
Plaintiff,
v. Case No. 3:18-ev»()l309-S

THE CBE GROUP, lNC.,

 

Defendant.

AGREED PROPOSED SCHEDULING ORDER
Pursuant to this Court’s August 14, 2018 Order as Weil as Fed. R. Civ. P. 26(£), the parties
submit the proposed Scheduling Order.
1. Proposed time limit to file motions for leave to join other parties.
All parties must be added and served, Whether by amendment or third party
practice, by November 28, 2018. The party causing the joinder shall provide a
copy of this Scheduiing Order at the time of service
2. Proposed time limit to amend pleadingsl
Ali amendments and supplements must be filed by November 28, 2018.
3. Proposed time limit to file various types of motions
All motions must be heard on or before March 28, 2019.
4. Proposed time limit for designation of experts.
A. Plaintiff’s designation of experts.
Plaintiff shall designate experts on or before December 28, 2018.
B. Defendant’s designation of experts.

Det`endant shall designate experts on or before December 28, 2018.

 

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Proposed time limit for designation of rebuttal experts.

Defendant Shali designate rebuttal experts on or before January 28, 2019.

Proposed time limit for objections to experts.

On or before February 28, 20i9, the parties shall tile any types of motions to object

to experts

Proposed plan and schedule for discovery, a statement of the subjects on Which

discovery may be needed, a time limit to complete factual discovery and expert

discovery, and a statement of whether discovery should be conducted in phases
or limited to particular issues:

A. Statement of the subjects on Which discovery may be needed:
Discovery from the parties related to communications between the parties,
Plaintift’ s knowledge of the ailegations, the telephone system used by
Defendant, Plaintift’s alleged damages, and Dei°endant’s poiicies and
procedures

B. Time limit to complete factual discovery and expert discovery:

The parties shall complete fact Witness discovery of all parties on or before
December 28, 2018, unless agreed to by ail the parties Ail Written
discovery requests shall be sent at least 35 days prior to this date. All expert

discovery is to be completed on or before February 28, 2019.

C. Whether discovery should be conducted in phases or limited to
particular issues:

No proposal regarding phased discovery
What changes should be made in the limitations on discovery imposed under
the Federai Rules of Civil Procedure or by local ruie, and what other
limitations should be imposed.
No proposai regarding limitations on discovery.
Proposed means for disclosure or discovery of electronically stored

information (“ESI”) and a statement of any disputes regarding the disclosure
or discovery of ESI.

 

 

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10.

11.

12.

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16.

17.

The parties shall produce electronically stored documents in .pdf format, unless
native format is expressiy requested

Proposed handling and protection of privileged or trial-preparation material
that should be reflected in a court order.

The parties shall provide a proposed protective order for the production and
handling of privileged inforrnation, ifcmy.

A proposed pre-trial date.
July 11, 2019 at 1130 PM.

A proposed trial date, estimated number of days required for trial, and
whether a jury has been properiy demanded.

Proposed trial date is July 25, 2019 requiring 3 days for trial and Piaintiff did timely
demand a jury trial.

A proposed date for further settlement negotiations

The parties shail have further settlement negotiations on or before November 28,
2018.

Objections to Fed. R. Civ. P. 26(a)(1) asserted at the Scheduling Conference,
and other proposed modifications to the timing, form, or requirement for
disclosures under Ruie 26(a), including a statement as to when disclosures
under Ruie 26(a)(1) Were made or Wili be made.

The parties wili exchange Ruie 26(a)(l) disclosures on or before September 7,
2018. '

Whether the parties wiil consent to trial (jury or non-jury) before a United
States Magistrate Judge.

The parties do not consent to trial before a United States Magistrate Judge.
Whether the parties are considering mediation or arbitration to resolve this
litigation and a statement of when it Would be most effective (e.g., before
discovery, after limited discovery, after motions are fiied, etc.), and, if
mediation is proposed, the name of any mediator the parties jointly
recommend to mediate the case.

The parties shall attend mediation With Marty Lowy following discovery.

A proposed deadline for mediation

 

 

 

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March 28, 2019.

18. Any other proposals regarding scheduling and discovery that the parties
believe will facilitate expeditious and orderly preparation for trial.

At this time, the parties have no other proposals regarding scheduling and
discovery.

19. Whether a conference with the Court is desired and the reasons for requesting
a conference.
At this time, the parties do not believe a conference with the Court is necessary

20. Any other matters relevant to the status and disposition of this case, inciuding
any other orders that should be entered by the Court under Fed. R. Civ. P.
16(b), 16(c), and 26(c).

None.

Signed October ¢‘- ,2018.

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Dated: September 28, 2018
/s/ Joseph Scoft Davz`dson

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Respectfully submitted:
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